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9th Cir. Case Number(s) ww-23-1190, ww23-1195, ww-23-1199

Case Name | Brenda M Johnson vs Unemployment et.al

Full Name(s)

Brenda M Johnson

NEW MAILING ADDRESS

Address 8118 44 th St West.

City University Place

State/Province/Region WA

Zip Code 98466

Country (if not USA)

Prisoner Inmate or A Number (if applicable)

N/A

Phone Number (if applicable) | 253-650-0498

|

Signature

Date | 04/11/2024

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